Case 17-32081-bjh13 Doc 1 Filed 05/30/17 Entered 05/30/17 09:28:51 Page 1 of 7

Fi|| in this information to identify your case:

United States Bankruptcy Court for the:
Northem District of Texas

FlLE,D
MAY 3 0 2017.

Case number (irknown); Chapter you are ti|ing under:

n Chapter 7
l:l Chapter 11 ~ upTC,¥ COUHT
5. MNKF¥ 1
Chapter 12 cLE:':-'H`;g" mSTEfT Ol‘ it§AS _ _
chapter 13 N° Check if this is an

amended filing

Officia| Form 101
Voluntary Petition for lndividuals Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For exampie, if a form asks, “Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debfor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in ali of the forms.

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this forrn. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ldentlfy Yourself

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Wn'te the name that is on your Matthew
government-issued picture _ F_ t
identification (for exampie, F"'St_"ame "s name
your dnver’s license or DelOf`l
passport). Middie name Middie name
Bring your picture Bateman
Last name Last name

identification to your meeting
with the trustee.

Sufnx (Sr., Jr., il, i||)

Suffix (Sr., Jr., ||l iii)

 

 

 

 

 

 

 

 

 

 

 

 

2. Ai| other names you Mat[hew
have used in the last 8 First name Fi,st name
yea's Deion
|nc|ude your married or Middie name Middie name
maiden names. Bafeman
Last name Lasf name
First name First name
Middie name Middie name
Last name Last name
3. Oniy the last 4 digits of 2
- . - - xxx - xx -
your Socla| Securlty XXX xx -l _2-- -5_ -_ -- -_- -_- -_-
number or federal oR oR
Individuai Tax a er
p y 9 xx - xx - 9 XX _ XX _

identification number
(|TiN)

Ofncia| Form 101

Vo|untary Petition for individuals Filing for Bankruptcy page 1

Case 17-32081-bjh13 Doc 1 Filed 05/30/17 Entered 05/30/17 09:28:51 Page 2 of 7

pewa Matthew Deion Bateman

 

Fist Name Midde Nama

4. Any business names
and Emp|oyer
|dentit"lcation Numbers
(ElN) you have used in
the last 8 years

include trade names and
doing business as names

5. Where you live

s. Why you are choosing
this district to file for
bankruptcy

Ofticiai Form 101

Last Name

About Debtor 1:

n i have not used any business names or E|Ns.

Case number (irknuwn)

About Debtor 2 (Spouse 0n|y in a Joint Case):

0 | have not used any business names or Ele4

 

 

Business name

Business name

 

 

BUSineSS name

'Ei_N'~

H_

1325 Forest Creek Drive

Business name

`E_ii_

B-

if Debtor 2 lives ata different address:

 

Number Street

 

Number Street

 

 

 

 

 

Desoto TX 751 1 5
City State ZiP Code Cify State ZiP Code
Daiias
County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address

PO Box 1325

 

Number Street

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

Number Street

 

 

 

 

P.O. Box P.O. Box

Cedar Hi|i TX 75106

City State Z|P Code City State ZiP Code
Check one: Check one:

Z over me last 180 days before ming this petition
| have lived in this district longer than in any
other district

n | have another reason. Explain.
(see 28 u.s.c. § 1408.)

 

 

 

 

a Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

n | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Vo|untary Petltion for individuals Filing for Bankruptcy page 2

Debtor 1

Case 17-32081-bjh13 Doc 1 Filed 05/30/17 Entered 05/30/17 09:28:51 Page 3 of 7

First Name

Matthew Deion Bateman

Middie Name

Case number (irknawn)
Last Neme

m Toll the Court About Your Bankruptcy Case

7.

10.

11.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
died by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each. see Notice Required by 1 1 U.S.C. § 342(b) for lndividuals Filing
for Bankruptcy (Form 2010)). A|so, go to the top of page 1 and check the appropriate box.

Cl Chapter 7

Cl Chapter 11
D Chapter 12
m Chapter 13

Cl l will pay the entire fee when | file my petition. P|ease check with the clerk’s office in your
local court for more details about how you may pay. Typical|y, if you are paying the fee
yourse|f, you may pay with cash, cashier’s check, or money order. if your attorney is
submitting your payment on your beha|f, your attorney may pay with a credit card or check
with a pre-printed address

m l need to pay the fee in installments. if you choose this option, sign and attach the
App/ication for Individuals to Pay The Filing Fee in Installments (Officia| Form 103A).

El l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By |aw, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Ofticia| Form 1038) and tile it with your petition.

 

 

 

 

 

 

 

m No
m Yes. District When Case number
MM/ DD / YYYY
Distn`ct When Case number
MM/ DD / YYYY
District When Case number
MM/ DD / YYYY
m No
m Yes. Debtor Relationship to you
Distn`ct When Case number, if known
MM / DD / YYYY
Debtor Relationship to you
Distn'ct When Case number, if known
MM l DD / YYYY
m No. Go to line 12.
m Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

El No. eo to line 12.

D Yes. Fi|| out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition_

Voluntary Petition for individuals Filing for Bankruptcy page 3

Case 17-32081-bjh13 Doc 1 Filed 05/30/17 Entered 05/30/17 09:28:51 Page 4 of 7

Debtori Matthew Deion Bateman casehumoerinmn

 

First Name Middie Name Last Name

Report About Any Businesses You 0wn as a Solo Fropriotor

 

12. Are you a sole proprietor E| No_ Go to parr 4_
of any fu||- or part-time
business? m Yes. Name and location of business
A sole proprietorship is a

business you operate as an
individual, and is not a

Handy Man For Hire

Name of business, if any

 

separate legal entity such as -
a corporation partnership or 1325 Forest Creek Drive
LLC_ Number Street

lf you have more than one
sole proprietorship, use a
separate sheet and attach it

 

 

to this petition EEVSOt° ;a); ;|g 1156

Check the appropriate box to describe your business:

n Hea|th Care Business (as defined in 11 U.S.C. § 101(27A))

n Single Asset Rea| Estate (as dehned in 11 U.S.C. § 101(51B))

ill stockbroker (as defined in 11 u.s.c. § 101(53A))

m Commodity Broker (as defined in 11 U.S.C. § 101(6))

la None of the above

13. Are you filing under lf you are Hling under Chapter 11, the court must know whether you are a small business debtor so that it

Chapter 1 1 of the can set appropriate deadlines if you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

are you a small business any of these documents do not exist. follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor?
_ _ m No, | am not filing under Chapter 11.
For a definition of small
business debtofi 536 El No. l am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D)- the Bankruptcy code

m Yes. | am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

mkeport if You 0wn or Have Any Hazardous Property or Any Proporty That Needs lmmedlate Attontion

 

14. Do you own or have any m No
property that poses or is _
alleged to pose a threat a Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

p'°p°"ty that needs if immediate attention is needed, why is it needed?

 

immediate attention?
For examp/e, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZlP Code

Official Form 101 Voluntary Petition for Indivlduals Filing for Bankruptcy page 4

Case 17-32081-bjh13 Doc 1 Filed 05/30/17 Entered 05/30/17 09:28:51 Page 5 of 7

Debtor 1

First Name

Matthew Deion Bateman

Midde Name

Last Name

M Explain Your Efforts to Recelve a Briefing About Credlt Counsellng

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you h|e for
bankruptcy. You must
truthfully check one of the
following choices if you
cannot do so, you are not
eligible to fi|e.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Officia| Form 101

About Debtor 1:

You must check one:

q | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and i received a
certificate of completion.

Attach a copy of the celtihcate and the payment
plan, if any, that you developed with the agency.

C\ l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition.
you MUST file a copy of the certificate and payment
plan, if any.

El l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briehng, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons you must
still receive a briefing within 30 days alter you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days

l;l l am not required to receive a briefing about
credit counseling because of:

El lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

El oisability. lviy physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after|
reasonably tried to do so,

Cl Act|ve duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Filing for Bankruptcy

Case number (irknown)

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

El l received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

cl i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, butl do not have a
certificate of completion.

V\hthin 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

l;l i certify that i asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my requestl and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briehng, why
you were unable to obtain it before you hied for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you died for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a brieth within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about
credit counseling because of:

cl lncapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

o Disability. My physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after l
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 5

Case 17-32081-bjh13 Doc 1 Filed 05/30/17 Entered 05/30/17 09:28:51 Page 6 of 7

oebtoii Matthew Deion Bateman

Fist Name Midde Name

Answer These Questlons for Reporting Purposes

Laat Name

Case number (ifknpwni

 

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

1a. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

mm eolow

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 u.S.C4 § 101 (8)
as “incurred by an individual primarily for a personal, fami|y, or household purpose.”

ill No. Go to line 16b.
m Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

m No. Go to line 160.
Cl Yes. co to line 17_

16c. State the type of debts you owe that are not consumer debts or business debts

 

q No. | am not filing under Chapter 7. Go to line 18.

i:] Yes. | am filing under Chapter 7. Do you estima
administrative expenses are paid that fund

m No
El Ves

iZi 149
El 50-99
D 100-199
El 200-999

E $0-$50,000

El $50,001-$100,000
Cl $100,001-$500,000
El $500,001-$1 million

E $0-$50,000

Cl $50,001-$100,000
Ci $100,001-$500,000
El $500,001-$1 million

E] 1,000-5,000
Cl 5,001-10,000
ill 10,001-25,000

El $1,000,001-$10 million

El $10,000,001-$50 million
Cl $50,000,001-$100 million
El $100,000,001-$500 million

El $1,000,001-$10 million

Cl $10,000,001-$50 million
Cl $50,000,001~$100 million
El $100,000,001-$500 million

te that after any exempt property is excluded and
s will be available to distribute to unsecured creditors?

El 25,001-50,000
El 50,001-100,000
a More than 100,000

El $500,000,001-$1 billion

Cl $1.000,000,001-$10 billion
Cl $10,000,000,001-$50 billion
Cl More than $50 billion

Cl $500,000.001-$1 billion

El $1,000,000,001-$10 billion
El s10,000,000,001-$50 billion
Cl More than $50 billion

 

For you

Official Form 101

l have examined this petition, and l declare under penalty of perjury that the information provided is true and

correct

if l have chosen to file under Chapter 7, l am aware that i may proceed, if eligib|e, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

lf no attorney represents me and l did not pay

or agree to pay someone who is nolan attorney to help me fill out

this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, conceal
with a bankruptcy case can result in fines up to

18 U.S.C. §§ 152, 1341, 1519, and 3571.

ing property, or obtaining money or property by fraud in connection
$250,000, or imprisonment for up to 20 years or both.

x Matthew Bateman x
Signature of Debtor 1 Signature of Debtor 2

Executed on 312 Zb \/? Executed on
MM DD / MM l DD / YYYY

Voluntary Petition for individuals Filing for Bankruptcy b page 6

 

 

Case 17-32081-bjh13 Doc 1 Filed 05/30/17 Entered 05/30/17 09:28:51 Page 7 of 7

Debtor1 Matthew Deion Bateman Case number tiriinown)

 

First Name Middie Name

For you if you are filing this
bankruptcy without an
attorney

lf you are represented by
an attorney, you do not
need to file this page.

Official Form 101

 

Last Name

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens, you could lose your right to file another
case, or you may lose protections including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. if you do not list a debt, the debt may not be discharged if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthfu|, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are hiing for yourself To be
successful, you must be familiar with the United States Bankruptcy Code, the Federa| Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

m No
m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incompletel you could be fined or imprisoned?

cl No
m Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

mNo

n Yes. Name of Person .
Attach Bankruptcy Petition Preparefs Notice, Declaration, and Signature (Official Form 119).

 

By signing here, l acknowledge that i understand the risks involved in filing without an attorney. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

 

 

 

 

 

signature or Debtor 1 signature or Debtor 2
Date 05/30/201 7 gate
MM/Do /va Mlvl/ oo/vYYY
contact phone (469) 404-1 201 contact phone
cell phone (469) 404-1 201 Cell phone
Emaii address matthew1808bateman@h0tmaii Emaii address

 

 

Voluntary Petition for individuals Filing for Bankruptcy page 8

